         Case 5:18-cv-00041 Document 40 Filed on 05/06/19 in TXSD Page 1 of 2


                                    UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          LAREDO DIVISION



Juan Castillo                                           §
                                                        §
                       Plaintiff,                       §
                                                        §
                                                        §   Case No. 5:18-cv-00041
v.                                                      §
                                                        §
                                                        §
JLG Industries, Inc., Oshkosh Corporation and           §
Jorge Estrada                                           §
                                                        §
                                                        §
Defendants                                              §


_____________________________________________________________________

                 JOINT ADVISORY REGARDING ADR
_____________________________________________________________________

        The parties hereby jointly advise the court that mediation was conducted but was

unsuccessful in resolving the case.


                                                Respectfully submitted,

                                                BY: “/s/ Ronald Rodriguez”
                                                Ronald Rodriguez
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                                                ATTORNEYS FOR PLAINTIFF



                                    CERTIFICATE OF SERVICE
                                                    1
     Case 5:18-cv-00041 Document 40 Filed on 05/06/19 in TXSD Page 2 of 2



    I certify that a true and correct copy of the foregoing has been served on all

counsel of record through the Electronic Case Files System of the Southern District

of Texas on this May 6, 2019.

                                    “/s/ Ronald Rodriguez”
                                    Ronald Rodriguez




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